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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 JENNER & BLOCK LLP,

         Plaintiff,

 v.                                                       Case No. 1:25-cv-00916-JDB

 U.S. DEPARTMENT OF JUSTICE, et al.,

         Defendants.


      PLAINTIFF JENNER & BLOCK LLP’S NOTICE OF RECENT DEVELOPMENT

        Plaintiff Jenner & Block LLP (“Jenner”) respectfully submits this notice to inform the

Court of a recent development that pertains to the above captioned matter. On May 14, 2025, at a

hearing in an indicted case in which Jenner represents a criminal defendant, the Court stated that

it had been informed by the Justice Department that a Jenner attorney’s security clearance had

been suspended. This development, in addition to the recent suspension of security clearances of

lawyers at WilmerHale, see Notice of Recent Development, Wilmer Cutler Pickering Hale and

Dorr LLP v. Executive Office of the President, No. 25-cv-917 (D.D.C. May 13, 2025), ECF No.

109, further underscores the need for the permanent injunctive relief that Jenner has requested,

including with respect to Section 2 of the challenged Executive Order.
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Dated: May 20, 2025                   Respectfully submitted,


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